                                         Case 17-23426-MAM              Doc 234        Filed 10/22/18        Page 1 of 7


                                      UNITED STATES BANKRUPTCY COURT
                                       SOUTHERN DISTRICT OF FLORIDA

IN RE:                                                                        }           CASE NUMBER: 17-23426-MAM
                                                                              }
            ROBERT MATTHEWS                                                   }           CHAPTER 11
                                                                              }
                                                                              }
            DEBTOR.                                                           }




                               DEBTOR'S MONTHLY OPERATING REPORT (INDIVIDUAL)
                                               FOR THE PERIOD
                             FROM           9/1/2018     TO     9/30/2018


   Comes now the above-named debtor and files its Monthly Operating Report in accordance with the Guidelines established
by the United States Trustee and FRBP 2015.



  Dated:     10/22/2018                                                                   /s/ Christian Panagakos, Esq.
                                                                                          Attorney for Debtor




            Debtor's Address:                                                              Attorney's Address and Phone Number:

            101 Casa Bendita                                                              FLORIDA BANKRUPTCY ADVISORS, P.L.
            Palm Beach, FL 33480                                                          Christian Panagakos, Esq.
                                                                                          FL Bar No.: 65579
                                                                                          120 E. Oakland Park Blvd., Suite 207
                                                                                          Oakland Park, FL 33334
                                                                                          Tel: 954-600-8990 / Fax: 954-692-9070
                                                                                          Email: cp@floridabankruptcyadvisors.com



Note: The original Monthly Operating Report is to be filed with the court and a copy simultaneously provided to the United States Trustee.
Monthly Operating Reports must be filed by the 20th day of the following month.

For assistance in preparing the Monthly Operating Report, refer to the followng resources on the United States Trustee Program website,
http://www.justice.gov/ust/r20/index.htm
1)           Instructions for Preparation Debtor's Chapter 11 Monthly Operating Report
2)           Initial Filing Requirements
3)           Frequently Asked Questions (FAQs)
Case 17-23426-MAM   Doc 234   Filed 10/22/18   Page 2 of 7
Case 17-23426-MAM   Doc 234   Filed 10/22/18   Page 3 of 7
Case 17-23426-MAM   Doc 234   Filed 10/22/18   Page 4 of 7
Case 17-23426-MAM   Doc 234   Filed 10/22/18   Page 5 of 7
Case 17-23426-MAM   Doc 234   Filed 10/22/18   Page 6 of 7
Case 17-23426-MAM   Doc 234   Filed 10/22/18   Page 7 of 7
